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 Attorneys for the Debtors

                                                   UNITED STATES BANKRUPTCY COURT
 In re:                                          : FOR THE DISTRICT OF NEW JERSEY

 SHAPES/ARCH HOLDINGS L.L.C., et                 : CHAPTER 11
 al.,
                                                 : CASE NO. 08-14631 (GMB)
                       Debtors.                    (Jointly Administered)
                                                 :


      APPLICATION FOR ORDER SHORTENING TIME PERIOD FOR NOTICE
    OF DEBTORS’ VERIFIED MOTION FOR AN ORDER AUTHORIZING BUT NOT
    DIRECTING PAYMENT OF PREPETITION SALES COMMISSIONS PURSUANT
                    TO 11 U.S.C. §§ 105(a), 507(a)(4) AND (5)

 TO:      THE HONORABLE GLORIA M. BURNS
          Your applicant, Jerrold N. Poslusny, Jr., respectfully represents:

          1.      Your applicant is a member with the firm of Cozen O’Connor, attorneys for the

 above captioned debtors and debtors-in-possession (the “Debtors”). I am familiar with the facts

 of this case.

          2.      Your applicant has filed a motion for entry of an order authorizing but not

 directing payment of prepetition sales commissions (the “Motion”).

          3.      A shortened hearing date is requested as Debtors owe approximately $122,000 in

 commissions to employees and independent sales representatives. Failing to timely honor

 prepetition commissions may irreparably damage the Debtors’ relationship with their valued

 sales representatives, resulting in a significant loss of revenue.
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         4.      Your Applicant requests a hearing be scheduled on May 19 or 23, 2008, dates on

 which the Court has already scheduled hearings in these cases and that responses to the Motion

 be filed no later than two business days prior to the hearing date.

         5.      Reduction of the time period in question is not prohibited under Fed. R. Bankr. P.

 9006(c)(1) and the Rules listed therein.


         WHEREFORE, your applicant requests entry of the Order submitted herewith.

 Dated: May 5, 2008                            COZEN O’CONNOR


                                               By:       /s/ Jerrold N. Poslusny, Jr.
                                                     Mark E. Felger
                                                     Jerrold N. Poslusny, Jr.

                                                     Attorneys for the Debtors




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